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14    [Additional Counsel Appear on Signature Page]
15
                          UNITED STATES DISTRICT COURT
16                      SOUTHERN DISTRICT OF CALIFORNIA
17
       IN RE QUALCOMM                       Case No. 3:17-cv-00121-JO-MSB
18     INCORPORATED SECURITIES
       LITIGATION                           LEAD PLAINTIFFS’ MOTION TO
19
                                            FILE UNDER SEAL CERTAIN
20                                          DOCUMENTS IN SUPPORT OF
                                            THEIR OPPOSITIONS TO
21
                                            DEFENDANTS’ MOTIONS
22
                                            Judge: Hon. Jinsook Ohta
23
                                            Courtroom: 4C
24
25
26
27
28
      LEAD PLAINTIFFS’ MOTION                             Case No. 3:17-cv-00121-JO-MSB
      TO FILE UNDER SEAL
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 1          In accordance with Southern District of California Civil Local Rule 79.2 and
 2    Section 2.j of the Electronic Case Filing Administrative Policies and Procedures
 3    Manual for the United States District Court for the Southern District of California,
 4    Lead Plaintiffs Sjunde AP-Fonden and Metzler Asset Management GmbH (“Lead
 5    Plaintiffs”) request permission to file under seal the following documents in support
 6    of their Oppositions to Defendants’ Motions:
 7          1. An unredacted copy of Lead Plaintiffs’ Opposition To (1) Qualcomm’s
 8               Motion For Summary Judgment On Loss Causation; (2) Defendants’
 9               Motion For Decertification; (3) Defendants’ Motion To Exclude Certain
10               Opinions Of Lead Plaintiffs’ Expert Dr. David I. Tabak; (4) Defendants’
11               Motion To Exclude Certain Opinions Of Lead Plaintiffs’ Expert
12               Dr. Timothy Simcoe; (5) Defendants’ Motion To Exclude Certain
13               Opinions Of Lead Plaintiffs’ Expert Professor Sang-Seung Yi; and (6)
14               Individual Defendants’ Motion For Summary Judgment; and
15          2. Unredacted copies of Exhibits 35, 37-38, 41, 43-44, , 49, 51-60, 62, 65,
16               67, 70-71, 74-76, 78-79, 81-97, 99-114, 116-126, 128-129, 131, 133, 136-
17               144, 146-150, 152, 155, 160-194, 196-258, 260-266, 268-270, 272-275,
18               277, 284-306, 308-322, 324, 328-330, 332, 334, 337, and 355-356 to the
19               Omnibus Declaration of Rebecca E. Boon In Support Of Lead Plaintiffs’
20               Oppositions to Defendants’ Motions.
21          The Protective Order requires a party to file provisionally under seal any
22    material designated “Confidential” or “Highly Confidential” by any other party or
23    non-party. See ECF. No. 79 (and supplements). All of the documents described
24    above that Lead Plaintiffs have filed provisionally under seal contain materials
25    designated as “Confidential” or “Highly Confidential-Attorneys Eyes Only” by
26    Defendants or a non-party. Id. In submitting these documents under seal, Lead
27    Plaintiffs do not concede or take the position that these documents, in fact, warrant
28    permanent sealing under the Protective Order and at this stage of the litigation.
      LEAD PLAINTIFFS’ MOTION                  -1-             Case No. 3:17-cv-00121-JO-MSB
      TO FILE UNDER SEAL
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 1    Dated: May 6, 2024                Respectfully submitted,
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      LEAD PLAINTIFFS’ MOTION             -3-           Case No. 3:17-cv-00121-JO-MSB
      TO FILE UNDER SEAL
